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 5
 6   Attorneys for Counter-Defendant NEMAN BROTHERS & ASSOC., INC.
 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
11
12   NEMAN BROTHERS & ASSOC.,                 Case No.: 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation;
14                                            EVIDENTIARY OBJECTION TO
               Plaintiff/Counter-Defendant,
15                                            DECLARATION OF MARK LEE
               vs.
16
17   INTERFOCUS, INC., a California           Date: August 23, 2021
     Corporation, et al.,                     Time: 10 a.m.
18              Defendant/Counter-Claimant
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 1                         EVIDENTIARY OBJECTIONS
 2
 3    MATERIAL OBJECTED TO            GROUNDS FOR OBJECTION                   COURT’
 4                                                                                S
 5                                                                            RULING
 6                                   Objection against the declarations       Sustained:
 7                                   and the new exhibits in their entirety ____
 8                                   as it is an improper attempt to
 9                                   introduce new evidence for the first
10                                   time with the reply, which would         Overruled:
11                                   deprive the opposing party’s right to ____
12                                   properly respond thereto. Reply
13                                   papers should be limited to matters
14                                   raised in the opposition papers. It is
15                                   improper for the moving party to
16                                   “shift gears” and introduce new
17                                   facts or different legal arguments in
18                                   the reply brief than presented in the
19                                   moving papers. Lujan v. National
20                                   Wildlife Federation (1990) 497 US
21                                   871, 894-895.
22                                   Further, it is improper to the extent
23                                   Interfocus Reply presents new
24                                   arguments for the first time in its
25                                   Reply, Zamani v. Carnes (9th Cir.
26                                   2007) 491 F3d 990, 997—“district
27                                   court need not consider arguments
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 1                                          raised for the first time in a reply
 2                                          brief”
 3
 4                                          Further, the new exhibits are not
 5                                          relevant to Interfocus motion for
 6                                          summary judgment but Neman
 7                                          Brothers’ motion. Using its reply,
 8                                          Interfocus is attempting to file a sur-
 9                                          reply to improperly supplement its
10                                          opposition to Neman Brothers’
11                                          motion after reviewing Neman
12                                          Brothers’ reply. Unless requested by
13                                          the court, no response to the reply
14                                          brief is allowed. See CD CA L.R. 7-
15                                          10.
16   2. Plaintiff’s opposition to           Lack of personal knowledge,
17   InterFocus’ motions included some      hearsay,                                  Sustained:
18   communications between previous
                                                                                      ____
19
     counsel for InterFocus and present

20
     counsel for Neman brothers
     concerning certain negotiations that
21                                                                                    Overruled:
     took place between them in the fall
22                                                                                    ____
     of 2020. However, I was provided
23
     copies of all written
24
     communications between former
25
     counsel and Plaintiff’s counsel
26
     herein, and in reviewing Plaintiff’s
27
28



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 1   opposition exhibit, I realized that

 2   Plaintiff’s counsel had not attached

 3
     all such communications to its
     opposition, and specifically, did not
 4
     attached certain emails in which
 5
     former counsel for InterFocus
 6
     explained why InterFocus was not
 7
     willing to enter into a license
 8
     agreement on the terms Neman
 9
     Brothers demanded.
10
     3. Attached as Exhibit 1 to this        (1) Hearsay, misstating facts,
11
     declaration is a true and correct       argumentative and                       Sustained:
12
     copy of an email string between
13                                           mischaracterization as to the           ____
     InterFocus’ former counsel and
14                                           contents of the emails (as discussed
     plaintiff’s counsel herein in
15                                           in the opposition and the emails, the
     which they explain why InterFocus
16                                           settlement amount in the draft was      Overruled:
     did not agree to Neman Brothers’
17                                           discussed and agreed upon at a          ____
     demands.
18                                           teleconference between the
19                                           counsels, was put in settlement
20                                           agreement drafts, and was
21                                           reaffirmed when Interfocus did not
22                                           change the amount, relying on
23                                           which Neman Brothers continued on
24                                           settlement efforts beyond 30 days
25                                           period for two months. At the last
26                                           minute, Interfocus counsel in her
27                                           email stated self-serving excuses
28                                           after a long delay and avoiding



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 1                                          communications. As shown in the
 2                                          drafts, the license was to use any
 3                                          Neman Brothers’ thousands of
 4                                          designs for unlimited number of
 5                                          units for a certain number of years.)
 6   4. In reviewing Plaintiff’s            Mischaracterization, legal
 7   objections to the paragraph 14 of      conclusion, lack of court-certified       Sustained:
 8   the Declaration of Weiwei Le filed
                                            translation, violation of Rule 33(d),     ____
 9
     in support of InterFocus’ motion
                                            unintelligible (A party who responds
10
     for summary judgment, which
                                            to an interrogatory by producing
     includes a chart, I noted that
11                                          documents written in a foreign            Overruled:
     Plaintiff claims that “no real
12                                          language must provide a translation       ____
     business record was ever
13                                          of those documents. FRCP R. 33(d)
     produced” to support the
14                                          (West 2021); Nature's Plus Nordic
     information in that chart. That is
15                                          A/S v. Natural Organics, Inc. (ED
     incorrect.
16                                          NY 2011) 274 FRD 437, 441. The
     InterFocus did produce in
17                                          purported business records about the
     discovery print screens from the
18                                          sale, earning and cost show no
     computer database it maintains in
19                                          numbers at all. It only has Chinese
     its normal course of business that
20                                          characters never translated in
     state when in 2020 Interfocus
21                                          English. The production was not
     removed from its online sales
22                                          only in response to the document
     platform the garments Neman
23                                          requests but the interrogatories
     Brothers had
24                                          asking about sale, earning and cost.
     complained about in its September
25                                          It is improper to produce such
     2020 letter. True and correct copies
26                                          documents with no explanation or
     of those print screens are attached
27                                          translation in lieu of the responses to
     as Exhibit 2. Further, although
28                                          interrogatories. Interfocus at least


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 1   InterFocus originally objected to     should have given some
 2   producing records of allegedly        explanations in the interrogatory
     infringing garment sales it had
 3                                         answers.)
     stopped selling before it entered
 4
     into the previous settlement
 5                                         irrelevant (Exhibit 2 on its
     agreement with Neman Brothers in
 6                                         background shows it is about the
     March of 2020, and Neman
 7                                         baby dress (Infringing Garment 2)
     Brothers did not seek to compel
 8                                         that Interfocus claimed to have
     further responses based on those
 9                                         removed as of September 2020 after
     objections, InterFocus concurrently
10                                         which there should be no sale,
     produces similar print screens from
11                                         earning or cost. However, most of
     the same online database to show
12                                         the entries are with the dates of the
     the dates in 2019 on which it
13                                         claimed removal. Exhibit 3’s
     stopped selling the other garments
14                                         background also shows it is about
     shown in the ummary chart that is
15                                         Prior Infringing Garments (baby
     in paragraph 14 of
16                                         tops) while the issue is whether
     Ms. Le’s earlier declaration. See
17                                         Interfocus produced proper business
     the concurrently Reply Le
18                                         records about the Infringing
     declaration and Ex. 3.
19                                         Garments to support its claim that
20                                         the profits from the sale of the
21                                         Infringment garment was less than
22                                         $1,000, which was to be given in
23                                         response to Neman’s Interrogatories
24                                         asking about sale, earning and cost
25                                         and in compliance with Rule 37
26                                         which is self-executing.
27         IT IS SO ORDERED.
28         DATED:


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 2                                     Honorable Judge Christina A. Snyder
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